        Case 2:21-cv-00346-AB Document 51 Filed 04/27/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


KATHERINE JINES et al.         )                         Civil Action No. 21-346
                               )
                               )
      Plaintiffs,              )
v.                             )                         NOTICE OF VOLUNTARY
                               )                         DISMISSAL WITHOUT
The DEVEREUX FOUNDATION (d/b/a )                         PREJUDICE
                               )
DEVEREUX ADVANCED BEHAVIORAL )
HEALTH) and QUALITYHEALTH      )
STAFFING, LLC,                 )
                               )
      Defendants.              )
                               )
                               )
                               )
                               )
                               )
                               )
                               )
                               )
                               )
            Plaintiff John Doe 2 hereby gives notice of the voluntary dismissal of all claims as

to all defendants, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). No

defendant has served an answer or a motion for summary judgment in this action. The

other plaintiffs will continue to prosecute this action.



Dated: April 27, 2022                                 Respectfully submitted,



                                                      _________________________________
                                                      Annika K. Martin (admitted pro hac
                                                      vice)
                                                      Jessica A. Moldovan (admitted pro hac
                                                      vice)
                                                      LIEFF CABRASER HEIMANN &
                                                      BERNSTEIN, LLP
                                                      250 Hudson Street, 8th Floor
                                                      New York, NY 10013


                                                     1
2409757.1
        Case 2:21-cv-00346-AB Document 51 Filed 04/27/22 Page 2 of 3




                                        Phone: (212) 355-9500
                                        Facsimile: (212) 355-9592
                                        akmartin@lchb.com
                                        jmoldovan@lchb.com

                                        Mark Chalos (admitted pro hac vice)
                                        LIEFF CABRASER HEIMANN &
                                        BERNSTEIN, LLP
                                        222 2nd Ave, Suite 1640
                                        Nashville, TN 37201
                                        Phone: (615) 313-9000
                                        Facsimile: (615) 313-9965
                                        mchalos@lchb.com

                                        Joseph G. Sauder
                                        Lori G. Kier
                                        SAUDER SCHELKOPF LLC
                                        1109 Lancaster Avenue
                                        Berwyn, PA 19312
                                        Phone: (610) 200-0580
                                        Facsimile: (610) 421-1326
                                        jgs@sstriallawyers.com
                                        lgk@sstriallawyers.com

                                        David Rudovsky
                                        KAIRYS, RUDOVSKY, MESSING,
                                        FEINBERG & LIN, LLP
                                        718 Arch Street
                                        Philadelphia, PA 19106
                                        Phone: (215) 925-4400
                                        drudovsky@krlawphila.com




                                        2
2409757.1
        Case 2:21-cv-00346-AB Document 51 Filed 04/27/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

            I, Jessica A. Moldovan, certify that a true and correct copy of Notice of Voluntary

Dismissal Without Prejudice has been filed electronically this 27th day of April, 2022

with the Clerk of Court using the CM/ECF system, which will send notification of such

to all counsel of record.




                                                Jessica A. Moldovan




                                                     3
2409757.1
